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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION

NETLIST, INC.,                                        §
                                                      §
                 Plaintiff,                           §
                                                      §           1:22-mc-839-RP
v.                                                    §
                                                      §           Pending in: The United States District Court
RENESAS ELECTRONICS AMERICA INC.,                     §           for the Eastern District of Texas,
                                                      §           Marshall Division—No. 2:21-cv-463-JRG
                 Defendant.                           §


                                                 ORDER

        On November 14, 2022, Plaintiff Netlist, Inc. filed a motion to withdraw its motion to

compel but requested that the Court keep this action during the pendency of discovery until

December 22. (Mot. Compel, Dkt. 2; Mot. Withdraw, Dkt. 9). On December 22, 2022, Plaintiff

Netlist, Inc. filed an advisory stating that it seeks no further relief in this action (Advisory, Dkt. 10).

        As nothing remains to resolve, IT IS ORDERED that this action is closed.

        SIGNED on December 23, 2022.




                                                 ROBERT PITMAN
                                                 UNITED STATES DISTRICT JUDGE
